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1    Dennis S. Waks, Bar #142581
     455 Capitol Mall, Suite 350
2    Sacramento, California 95814
     Telephone (916) 498-9871
3
4    Attorney for Defendant
     KATHLEEN SUPATTRA WADE
5
                            IN THE UNITED STATES DISTRICT COURT
6
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
7
8
     UNITED STATES OF AMERICA,         )
9                                      )   CR NO. 13-033-GEB
                         Plaintiff,    )
10                                     )   STIPULATION AND ORDER
                 v.                    )
11                                     )
     GLEN PATRICK SHOULTS, et          )   DATE: May 3, 2013
12   al.,                              )   TIME: 9:00 a.m.
                                       )   JUDGE: Hon. Garland E. Burrell
13                       Defendants.   )
                                       )
14   __________________________
15
          It is hereby stipulated and agreed to by the United States of
16
     America through MICHELLE RODRIGUEZ, Assistant United States Attorney,
17
     and defendant, KATHLEEN SUPATTRA WADE, by and though her counsel,
18
     DENNIS S. WAKS, Attorney at Law, that the status conference set for
19
     March 15, 2013, be continued to a status conference on May 3, 2013, at
20
     9:00 a.m.    This continuance is being requested because defense counsel
21
     needs additional time to prepare, to review discovery, and to interview
22
     witnesses.       The defendant has received a large amount of discovery.
23
          Furthermore, the parties stipulate and agree that the interest of
24
     justice served by granting this continuance outweighs the best interest
25
     of the public and the defendant in a speedy trial. (18 U.S.C.
26
     §3161(h)(7)(A)).
27
          Speedy trial time is to be excluded from the date of this order
28
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1    through the date of the status conference set for May 3, 2013, pursuant
2    to 18 U.S.C. § 3161 (h)(7)(B)(iv) [reasonable time to prepare] (Local
3    Code T4).
4    DATED: March 12, 2013
5                                       Respectfully submitted,
6
                                        /s/ Dennis S. Waks
7
                                        DENNIS S. WAKS
8                                       Attorney for Defendant
                                        KATHLEEN SUPATTRA WADE
9
10
11   DATED: March 12, 2013
                                        BENJAMIN B. WAGNER
12                                      United States Attorney
13
                                        /s/ Dennis S. Waks for
14
                                        MICHELLE RODRIGUEZ
15                                      Assistant U.S. Attorney
16   / / /
17   / / /
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1                                         O R D E R
2         Based on the stipulation of the parties and good cause appearing
3    therefrom, the Court hereby finds that the failure to grant a

4    continuance in this case would deny defense counsel reasonable time

5    necessary for effective preparation, taking into account the exercise

6    of due diligence.      The Court specifically finds that the ends of

7    justice served by the granting of such continuance outweigh the

8    interests of the public and the defendant in a speedy trial.             Based on

9    these findings and pursuant to the stipulation of the parties, the

10   Court hereby adopts the stipulation of the parties in its entirety as

11   its order.     Time is excluded from computation of time within which the
     trial of this matter must be commenced beginning from the date of the
12
     stipulation through and including May 3, 2013, pursuant to 18 U.S.C. §
13
     3161(h)(7)(A) and (B)(iv) [reasonable time for defense counsel to
14
     prepare] and Local Code T4.        A new status conference date is hereby set
15
     for May 3, 2013, at 9:00 a.m..
16
17   Dated:    March 14, 2013

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19                                       GARLAND E. BURRELL, JR.
                                         Senior United States District Judge
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